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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ARBOR GLOBAL STRATEGIES, LLC.,

                             Plaintiff
                                                             C.A. No. 19-cv-01986-MN
               v.

XILINX, INC.,

                            Defendant.


                        XILINX INC.’S MOTION FOR
            INTERLOCUTORY CERTIFICATION OF STANDING QUESTION
                       PURSUANT TO 28 U.S.C. § 1292(b)

       At least one Federal Circuit judge has suggested that parties should seek interlocutory

review of threshold standing issues early in the case when warranted. See Abraxis Bioscience,

Inc. v. Navinta LLC, 625 F.3d 1359, 1368 (Fed. Cir. 2010) (Newman, J., dissenting from opinion

overturning “three years of litigation” due to standing defect and starting her dissent by explicitly

noting defendant “did not seek interlocutory review” of its motion to dismiss for lack of

standing). See also Sky Techs. LLC v. SAP AG, 576 F.3d 1374, 1378 (Fed. Cir. 2009) (resolving

standing question in patent case on interlocutory appeal); Int’l Gamco, Inc. v. Multimedia

Games, Inc., 504 F.3d 1273, 1274 (Fed. Cir. 2007) (same).

       In order to save the parties and this Court from unnecessary litigation—where Xilinx

believes that Plaintiff Arbor Global Strategies, LLC (“AGS”) does not own the patents-in-suit

and lacks standing—and to preserve its rights, Xilinx respectfully moves the Court to certify for

interlocutory appeal under 28 U.S.C. § 1292(b) the portion of its August 12, 2020 Order denying

Xilinx’s motion to dismiss for lack of standing, D.I. 39.
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I.       ARGUMENT

         A.     The Court Should Certify the Order Finding AGS “Has Sufficiently
                Established Standing” for Interlocutory Appeal

         “Standing is a ‘controlling question of law’. . . [S]uch questions are particularly well

suited for an interlocutory appeal.” Klapper v. Commonwealth Realty Tr., 662 F. Supp. 235, 236

(D. Del. 1987). A trial court has discretion to certify an order for interlocutory appeal pursuant

to 28 U.S.C. § 1292(b) where, as here, the order: (1) involves a “controlling issue of law”; (2)

presents a question for which there is “substantial ground for difference of opinion”; and where

(3) an immediate appeal of the order “may materially advance the ultimate termination of the

litigation.” See Crystallex Int’l Corp. v. Petróleos De Venezuela, S.A., No. CV 15-1082-LPS,

2016 WL 7440471, at *1 (D. Del. Dec. 27, 2016). All of these conditions are met here, such that

“‘exceptional circumstances’ merit a departure from the final judgment rule” than any appeal is

normally taken at the end of the case. See id.

                1.      The Court’s Ruling Involves a Controlling Question of Law

         The Court’s Order concluding that the “Plaintiff has sufficiently established standing

based on the current record” is based on contractual interpretation—a question of law. See

CIGNEX Datamatics, Inc. v. Lam Research Corp., No. CV 17-320 (MN), 2020 WL 2063924, at

*8 (D. Del. Apr. 29, 2020) (“Interpretation of a contract is ultimately a question of law.”). Here,

the parties do not appear to dispute any relevant facts, but do dispute the legal significance of

these facts. The undisputed facts related to a February 2009 Agreement that states, in part:

         Assignor hereby grants, assigns, and conveys to Assignee the entire right, title
         and interest in and to the [Patents] including without limitation all proceeds
         thereof (such as, by way of example, license royalties and proceeds of infringement
         suits), the right to sue for past, present and future infringements, all rights
         corresponding thereto throughout the world and all reissues, divisions,
         continuations, renewals, extensions, and continuations-in-part thereof.

D.I. 13 Ex. A at ¶ 1. The February 2009 Agreement also states that:


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        At such time as Assignee executes the Release, this Agreement shall terminate
        and Assignee shall execute and deliver to Assignor all deeds, assignments and
        other instruments as may be necessary or proper to re-vest in Assignor full
        title to the Patents, subject to any disposition thereof which may have been made
        by Assignee pursuant hereto.

D.I. 13 Ex. A at ¶ 8.

        The questions of law before the Court were whether the February 2009 Agreement

transferred ownership of the patents-in-suit to Mary Ann Guzy and Mark Guzy, and whether the

2009 Agreement could automatically revert ownership to AGS’s purported predecessor in

interest. The Court appears to accept AGS’s argument that its purported predecessor-in-interest

never assigned the patents to the Guzys, and whatever rights they had reverted to AGS’s

purported predecessor-in-interest.1 The Court appears to reject Xilinx’s position that the 2009

Agreement was a transfer of ownership and that the 2009 Agreement’s ¶ 8 (laying out a future

obligation to make an assignment “at such time [in the future]”) was a “mere promise to assign

rights in the future, not an immediate transfer of expectant interests,” Abraxis, 625 F.3d at 1365.

        These are “controlling issue[s] of law” in the meaning of 28 U.S.C. § 1292(b), because a

finding for Xilinx on appeal and reversal would “require dismissal of the action.” See Crystallex

Int’l Corp., 2016 WL 7440471, at *2. That is, if Xilinx is correct that the 2009 Agreement

transferred ownership of the patents, then AGS does not own the patents-in-suit because it is

undisputed that no further assignments of ownership rights were ever made and ¶ 8 is not self-

executing. Abraxis, 625 F.3d at 1365. This litigation would necessarily be terminated, because

AGS lacks standing.


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 See D.I. 39 at 2 (“WHEREAS, in response to Defendant’s standing challenge, Plaintiff offered
evidence that the 2009 agreement was a Patent Collateral Assignment that transferred to the
Guzys a collateral interest in the Patents-in-Suit subject to satisfaction of a judgment;…
WHEREAS, the rights the Guzys had in the Patents-in-Suit were extinguished as of August 1,
2019;…”)


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               2.      There is Substantial Ground for Difference of Opinion Regarding the
                       Interpretation of the February 2009 Assignment Agreement

       Xilinx respectfully submits that there is substantial ground for a difference of opinion

regarding the interpretation of the February 2009 Agreement, an issue of law.

       Under the case law presented by Xilinx, the Agreement transferred full ownership of the

patents-in-suit to Mary Ann Guzy and Mark Guzy that has not “extinguished.” D.I. 19 at 1-3

(citing cases, including and not limited to Lone Star Silicon Innovations LLC v. Nanya Tech.

Corp., 925 F.3d 1225, 1229 (Fed. Cir. 2019); Vaupel Textilmaschinen KG v. Meccanica Euro

Italia SPA, 944 F.2d 870, 875 (Fed. Cir. 1991); In re Cybernetic Servs., Inc., 252 F.3d 1039,

1050-51 (9th Cir. 2001); Abraxis, 625 F.3d at 1364-68; and Waterman v. Mackenzie, 138 U.S.

252, 255 (1891)).

       In opposition, AGS argued that the 2009 Agreement merely transferred “collateral

interest” in the patents-in-suit, and did not require execution of any later assignment by the

Guzys. See generally D.I. 15 at 6-9 (citing cases, including and not limited to Applied Cos. v.

U.S., 144 F.3d 1470, 1473-77 (Fed. Cir. 1998); Roswell Capital Partners LLC. v. Beshara, 436

F. App’x 34, 35 (2d Cir. 2011); Kanematsu Corp. v. Advanced Materials Lanxide, LLC, No.

CIV.A. 01-190-JJF, 2002 WL 32332375, at *5-6 (D. Del. Sept. 30, 2002); Gerber Sci. Int’l, Inc.

v. Satisloh AG, No. 07-cv-1382 (PCD), 2009 WL 2869705, at *5 (D. Conn. Sept. 2, 2009)).

       Xilinx and AGS’s countervailing arguments, and the variety of cases cited by the parties,

demonstrate the substantial grounds for a difference in opinion. Specifically, AGS cites cases

outside of the patent context and asserts that these govern, as laid out in AGS’s opposition to

Xilinx’s motion. Xilinx cites cases from the Federal Circuit and cases involving patent

“assignments” and believes that those govern, as laid out in Xilinx’s motion and reply.




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               3.      An Immediate Appeal May Materially Advance the Ultimate
                       Termination of the Litigation

       An immediate appeal of the Order may materially advance the ultimate termination of

this litigation, saving significant court costs. Should interlocutory review of the Court’s Order

find that the 2009 Agreement did transfer the ownership of the patents and result in a reversal,

this litigation would be terminated for lack of standing.

               4.      The Threshold Issue Regarding Standing Is An Exceptional
                       Circumstance Meriting Certification

       The standing issues raised by Xilinx’s 12(b)(1) motion and the Court’s dismissal of same

are critical threshold issues in this case. The future decisions in this case are all under a cloud

until this standing issue is definitively resolved, and it is both disconcerting and telling that AGS

has not obtained the assignments it would need to evince standing.

       Xilinx’s belief is that AGS does not have standing and has no right to proceed in this

lawsuit. Without interlocutory review, AGS will soon be taking legal positions on the metes and

bounds on the patent rights, and asking this Court to decide the scope of patent rights—that in

Xilinx’s understanding of the law do not belong to AGS.

       As such, the questions of law at issue in the Court’s Order present “exceptional

circumstances” that merit interlocutory review at this early stage. Resolution of the standing

issue has the potential to “greatly conserve the resources of the judiciary and the parties,” which

courts have found to be an exceptional circumstance justifying certification. See Chase

Manhattan Bank v. Iridium Africa Corp., 324 F. Supp. 2d 540, 546 (D. Del. 2004); Klapper v.

Commonwealth Realty Tr., 662 F. Supp. at 236 (finding questions of standing “particularly well

suited for an interlocutory appeal”). Xilinx respectfully suggests that these circumstances merit

the Court’s exercise of discretion to certify the Order, D.I. 39, for interlocutory review.




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        B.      Xilinx Requests the Court Should Stay The Case Pending Appeal, But
                Requests the Court Certify the Appeal Regardless of Whether It Grants Stay

        Pursuant to 28 U.S.C. § 1292(b), a district court may stay further proceedings pending the

appeal of issues it certifies. Where, as here, further proceedings are dependent on the outcome of a

certified appeal, district courts routinely grant stays. See, e.g., Klapper, 662 F. Supp 235 (D. Del.

1987) (issuing stay pending outcome of appeal on standing issue); see also D.I. 20-1, Ex. A , Gerber

Sci. Int’l, Inc. v. Satisloh AG, No. 07-cv-1382 (D. Conn. Sept. 25, 2009) (issuing stay sua sponte

pending review of standing question raised by disputed patent ownership). Because there is a serious

standing cloud over this case, a stay is appropriate to defer the substantial investment of resources by

both the parties and the Court until that cloud can be definitely addressed.

        While Xilinx believes that a stay is appropriate, Xilinx also requests interlocutory

certification of the standing question regardless of whether a stay is also granted by the Court.

II.     CONCLUSION

        For the foregoing reasons, Xilinx respectfully requests that the Court certify the portion of

its Order relating to Xilinx’s standing challenge, D.I. 39, for interlocutory appeal, and stay the

proceedings in this litigation.




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Dated: August 21, 2020       FISH & RICHARDSON P.C.



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                              RULE 7.1.1. CERTIFICATION

       The undersigned counsel for Defendant Xilinx Inc. certifies that counsel for Xilinx Inc.

orally communicated with Delaware counsel for Plaintiff Arbor Global Strategies, LLC

concerning this, and counsel for Plaintiff Arbor Global Strategies, LLC indicated that Arbor

Global Strategies, LLC opposes this Motion.

Dated: August 21, 2020                             /s/ Warren K. Mabey, Jr.
                                                    Warren K. Mabey, Jr. (#5775)




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